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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

___________________________________
                                    )
JANA BENSCOTER,                     )
                                    ) CIVIL ACTION NO.:
          Plaintiff,                )
                                    )
          vs.                       ) JURY TRIAL DEMANDED
                                    )
ADVANCE LOCAL MEDIA LLC             )
d/b/a PA MEDIA GROUP,               )
                                    )
          Defendant.                ) ELECTRONICALLY FILED
___________________________________ )

                                   COMPLAINT

      Plaintiff, JANA BENSCOTER, a resident of Cumberland County,

Pennsylvania, by and through her attorneys, brings this civil action for damages

against the above-named Defendant, ADVANCE LOCAL MEDIA LLC d/b/a PA

MEDIA GROUP, demands a trial by jury, and complains and alleges as follows:

                          JURISDICTION AND VENUE

      1.      Jurisdiction of the claims set forth in this Complaint is proper in this

judicial district pursuant to Title VII of the Civil Rights Act of 1964, as amended, 42

U.S.C. § 2000e et seq. (“Title VII”), the Americans with Disabilities Act, as

amended, 42 U.S.C. §12101 et seq. (the “ADA”) and 28 U.S.C. §§1331 and 1343.
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       2.      This Court has, and should exercise, supplement jurisdiction over

Plaintiff’s state claims under the Pennsylvania Human Relations Act, as amended,

43 P.S. §951, et seq. (the “PHRA”) pursuant to 28 U.S.C. §1367.

       3.      Venue is proper in this judicial district pursuant to 28 U.S.C. §1391(b)

because a substantial part of the events or omissions giving rise to these claims

occurred in this judicial district.

       4.      Declaratory relief is sought pursuant to 28 U.S.C. §§ 2201 and 2202.

                                      THE PARTIES

       5.      Plaintiff, Jana Benscoter (“Ms. Benscoter”), is an adult individual

residing at 1424 Timber Brook Drive, Mechanicsburg, Cumberland County,

Pennsylvania 17050.

       6.      At all times relevant and material hereto, Plaintiff was disabled as

defined by the ADA.

       7.      Defendant Advance Local Media LLC d/b/a PA Media Group (“PA

Media”) is a New York limited liability company with headquarters located at 1

World Trade Center, New York, New York 10007.

       8.      At all times relevant and material hereto, PA Media, as a division of

Advance Local Media LLC, owned and operated Pennlive.com, The Patriot News,

a full-service advertising agency and a video and design studio, operating out of an




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office located at 1900 Patriot Drive, Wertzville, Cumberland County, Pennsylvania

17050.

      9.      At all times material and relevant hereto, PA Media employed at least

fifteen (15) individuals, and was an employer as defined by Title VII and the ADA.

                      ADMINISTRATIVE PROCEEDINGS

      10.     On or about November 9, 2022, Ms. Benscoter filed a Charge of

Discrimination against PA Media with the Equal Employment Opportunity

Commission (“EEOC”), which was docketed as Case No. 530-2023-00931, with

instructions for the EEOC to cross-file the charge with the Pennsylvania Human

Relations Commission.

      11.     Ms. Benscoter has been advised by the EEOC of her right to sue in

federal court, which notice was received on or about August 14, 2023.

      12.     All necessary and appropriate administrative prerequisites to this action

have occurred.

                             STATEMENT OF FACTS

      13.     Ms. Benscoter was hired by PA Media in or about December 2018, as

a Reporter for PennLive.com in Wertzville, Pennsylvania.

      14.     In October 2017, Ms. Benscoter had been involved in an automobile

accident which resulted in Ms. Benscoter suffering a traumatic brain injury (“TBI”).




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      15.      Ms. Benscoter’s TBI caused significant and long lasting effects,

including negatively affecting Ms. Benscoter’s ability to concentrate and process

information.     The effects of the TBI also included negatively affecting Ms.

Benscoter’s stamina, and causing her to suffer from vertigo at times.

      16.      At the time of Ms. Benscoter’s hire, she made PA Media aware of her

automobile accident and advised that she was recovering from a TBI.

      17.      At the time of Ms. Benscoter’s hire, she was qualified to perform the

job of Reporter, as she has worked in similar media positions continuously since

1999 and won two media awards, including one for investigative journalism and one

for broadcast media.

      18.      At the time of Ms. Benscoter’s hire, she was able to perform the

essential functions of her job, including her initial assignment of working as the City

of Harrisburg reporter.

      19.      Ms. Benscoter was moved to a general assignment role in or about June

2019, and also covered breaking news on weekends.

      20.      In or about July 2021, Ms. Benscoter was assigned to cover high school

sports, specifically field hockey.

      21.      At the time Ms. Benscoter was transferred to cover sports, she was the

only female reporter for PennLive covering sports.




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      22.    During her tenure in the Sports Department, Ms. Benscoter was subject

to disparate treatment in relation to the male reporters in the Sports Department.

This included significant additional scrutiny of Ms. Benscoter’s work, including

rewriting and editing of her articles, which did not occur to nearly the same degree

with the male reporters.

      23.    During her six-month review on or about July 26, 2022, Ms. Benscoter

was informed by the Vice President of PennLive and High School Sports Deputy

Editor that PA Media believed that her writing skills were not up to par.

      24.    Ms. Benscoter then was told that she was going to take on a new role

in a statistics position as part of a bigger PennLive high school sports stats software

launch.

      25.    Ms. Benscoter made it known to PA Media on many occasions both

verbally and in writing that she has a difficult time with numbers due to her

disability, including a text message to Deputy Sports Editor Brian Linder stating,

“The only area I struggled in my TBI recovery was numbers. Like miserably. I need

to do this over and over and I’ll get it. It’s super frustrating to me.”

      26.    During her time working as a sports reporter, Ms. Benscoter advised

her supervisors and management numerous times that she was willing and able to

work with numbers and statistics as part of her job as a reporter, but asked for




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additional time and training as an accommodation to allow her to adapt to that role

in light of her TBI and difficulty processing numbers.

      27.    Despite advising PA Media that she had difficulty with processing

numbers, Ms. Benscoter was told that working with numbers would help to improve

her writing, and she was never afforded any additional training or time to process

her assignments.

      28.    Ms. Benscoter was told that she was going to work with statistics all

day and “find stories for the guys,” and she was told to “embrace her new role.”

      29.    In essence, this new role removed Ms. Benscoter, the only female sports

reporter, from primary reporting functions and put her in a role designed to support

the male sports reporters.

      30.    After her review, at the end of July and until on or about August 8,

2022, Ms. Benscoter took leave so that she could umpire the Junior Olympics and

another field hockey event.

      31.    On or about August 9, 2022, Ms. Benscoter returned to work and was

notified that she was being discharged for performance.

      32.    Ms. Benscoter was the only female on the sports reporting team and

outperformed her male counterparts in several metrics.




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       33.     Ms. Benscoter had positive reviews noting her enthusiasm, team player

attitude, and willingness to take part in new things that she had never done before,

including participating in a high school football podcast.

       34.     Ms. Benscoter was terminated in violation of Title VII and the ADA,

because as the only female on the sport reporting team, she was subjected to

additional scrutiny and then reassigned to a position in which she would only work

with statistics and “find stories for the guys,” and because PA Media refused to

accommodate Ms. Benscoter’s disability and provide additional training and time

for her to adapt to working with statistics and numbers as part of her role as a sports

reporter.

       35.     PA Media failed to provide reasonable accommodation for Ms.

Benscoter’s disability and failed to provide a hostile free workplace.

                                      COUNT I

                                   ADA Violations

       36.     The averments in all prior paragraphs are incorporated by reference as

though fully set forth herein.

       37.     At all relevant times hereto, Ms. Benscoter was a member of a class of

individuals protected against discrimination on account of a disability, a record of

disability, and/or the perception that Ms. Benscoter was an individual with a

disability.



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      38.    Ms. Benscoter was subjected to a hostile work environment,

discrimination and disparate treatment based on her disability, her record of

disability, or PA Media’s regard of her as an individual with a disability, in a manner

affecting the terms and conditions of her employment.

      39.    PA Media further violated Ms. Benscoter’s rights under the ADA by

failing to accommodate her need for a reasonable accommodation, including

additional time and training to adapt to working with statistics and numbers as part

of her role as a sports reporter.

      40.    PA Media additionally failed to engage in an interactive process when

made aware of Ms. Benscoter’s need for an accommodation.

      41.    As a direct and proximate result of the conduct of PA Media in violating

the ADA by discriminating against Ms. Benscoter on the basis of her disability,

perceived disability and/or record of a disability, Ms. Benscoter has been

permanently and irreparably harmed and damaged and has and will continue to lose

benefits of employment such as lost earnings, lost employment benefits, and non-

economic damages in the form of embarrassment, humiliation, anxiety and damage

to her professional reputation.

      WHEREFORE, Plaintiff Jana Benscoter seeks the damages set forth in the

Ad Damnum clause of the instant Complaint, infra.




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                                      COUNT II

                                  Title VII Violations
                                 Gender Discrimination

      42.     The averments in all prior paragraphs are incorporated by reference as

though fully set forth herein.

      43.     By discriminating against Ms. Benscoter and terminating her on the

basis of her gender, PA Media violated Ms. Benscoter’s rights under Title VII.

      44.    As a direct and proximate result of the conduct of PA Media in violating

Title VII by discriminating against Ms. Benscoter and terminating her on the basis

of her gender, Ms. Benscoter has been permanently and irreparably harmed and

damaged and has and will continue to lose benefits of employment such as lost

earnings, lost employment benefits, and non-economic damages in the form of

embarrassment, humiliation, anxiety and damage to her professional reputation.

      WHEREFORE, Plaintiff Jana Benscoter seeks the damages set forth in the

Ad Damnum clause of the instant Complaint, infra.

                                      COUNT III

                                 PHRA Violations
                             Disability Discrimination

      45.    The averments in all prior paragraphs are incorporated by reference as

though fully set forth herein.




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      46.    This is an action arising under the provision of the PHRA and this Court

has, and should exercise, pendant jurisdiction over the same because the causes of

action complained of in this Count III arise out of the same facts, events and

circumstances as Count I, and therefore judicial economy and fairness to the parties

dictates that this Count be brought in the same Complaint.

      47.    By discriminating against Ms. Benscoter on the basis of her disability,

PA Media violated Ms. Benscoter’s state rights under the PHRA.

      48.    As more fully set forth in Count I, Ms. Benscoter has suffered directly

and solely as a result of PA Media’s actions, both economic harm and emotional

distress, and will continue to suffer the same for the indefinite future.

      WHEREFORE, Plaintiff Jana Benscoter seeks the damages set forth in the

Ad Damnum clause of the instant Complaint, infra.

                                     COUNT IV

                                 PHRA Violations
                               Gender Discrimination

      49.       The averments in all prior paragraphs are incorporated by reference

as though fully set forth herein.

      50.    This is an action arising under the provision of the PHRA and this Court

has, and should exercise, pendant jurisdiction over the same because the causes of

action complained of in this Count IV arise out of the same facts, events and




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circumstances as Count II, and therefore judicial economy and fairness to the parties

dictates that this Count be brought in the same Complaint.

      51.      By discriminating against Ms. Benscoter on the basis of her gender, PA

Media violated Ms. Benscoter’s state rights under the PHRA.

      52.      As more fully set forth in Count II, Ms. Benscoter has suffered directly

and solely as a result of PA Media’s actions, both economic harm and emotional

distress, and will continue to suffer the same for the indefinite future.

      WHEREFORE, Plaintiff Jana Benscoter seeks the damages set forth in the

Ad Damnum clause of the instant Complaint, infra.

                 AD DAMNUM CLAUSE/PRAYER FOR RELIEF

      WHEREFORE, the Plaintiff, Jana Benscoter, prays that the Court enter

judgment in hers favor and against the Defendant, Advance Local Media LLC d/b/a

PA Media Group, and that it enter an Order as follows:

      a.       The Defendant is to be permanently enjoined from discriminating or

               retaliating against the Plaintiff on the basis of her gender, disability

               and/or any basis prohibited under applicable federal law;

      b.       The Defendant is to be prohibited from continuing to maintain its illegal

               policy, practice, or custom of discriminating or retaliating against

               employees based on their gender and/or disability and is to be ordered




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         to promulgate an effective policy against such discrimination and

         retaliation and to adhere thereto;

c.       The Defendant is to compensate the Plaintiff, reimburse the Plaintiff,

         and to make the Plaintiff whole for any and all pay and benefits the

         Plaintiff would have received had it not been for the Defendant’s illegal

         actions, including but not limited to back pay, front pay, salary, pay

         increases, bonuses, medical and other benefits, training, promotions,

         pension and seniority. The Plaintiff should be accorded those benefits

         illegally withheld from the date she first suffered discrimination and/or

         retaliation at the hands of the Defendant until the date of verdict;

d.       The Plaintiff is to be awarded actual damages, as well as damages for

         the pain, suffering, and humiliation caused to her by the Defendant’s

         actions;

e.       The Plaintiff is to be awarded punitive damages as permissible by

         statute;

f.       The Plaintiff is to be accorded any and all other equitable and legal

         relief as the Court deems just, proper, and appropriate;

g.       The Plaintiff is to be awarded the costs and expenses of this action and

         reasonable legal fees as provided by applicable federal law;




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      h.       Any verdict in favor of the Plaintiff is to be molded by the Court to

               maximize the financial recovery available to the Plaintiff in light of the

               caps on certain damages set forth in applicable law;

      i.       The Plaintiff is to be granted such additional injunctive or other relief

               as she may request during the pendency of this action in an effort to

               ensure the Defendant does not engage – or ceases engaging – in illegal

               retaliation against the Plaintiff or other witnesses to this action; and

      j.       The Court is to maintain jurisdiction of this action after verdict to

               ensure compliance with its Orders therein.

                                DEMAND FOR JURY

      Pursuant to Federal Rule of Civil Procedure 38(b) and otherwise, Plaintiff

respectfully demands a trial by jury.




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                               Respectfully submitted,

                               Weisberg Cummings, P.C.


November 7, 2023               /s/ Larry A. Weisberg
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November 7, 2023               /s/ Derrek W. Cummings
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November 7, 2023               /s/ Stephen T. Mahan, Jr.
Date                           Stephen T. Mahan, Jr. (PA Bar: #313550)
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November 7, 2023               /s/ Michael J. Bradley, Jr.
Date                           Michael J. Bradley, Jr. (PA Bar: #329880)
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